




NO. 07-06-0256-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



JANUARY 30, 2007



______________________________





TRUMAN CHUMLEY AND MARY ANN CHUMLEY, APPELLANTS



V.



LA SALLE BANK, NATIONAL ASSOCIATION, ET AL, APPELLEES





_________________________________



FROM THE 72ND DISTRICT COURT OF LUBBOCK COUNTY;



NO. 2005-531,550; HONORABLE RUBEN REYES, JUDGE



_______________________________



Before CAMPBELL and HANCOCK and PIRTLE, JJ.

MEMORANDUM OPINION

Appellants Truman Chumley and Mary Ann Chumley perfected this appeal to challenge the trial court’s final summary judgment in their suit against La Salle Bank, National Association, 
et al.
, to set aside a foreclosure and for rescission of substitute trustee’s deed. &nbsp;The clerk’s record and a supplemental clerk’s record were both filed on October 30, 2006. &nbsp;This Court granted an extension of time to the Chumleys in which to file their brief to December 27, 2006. &nbsp;Neither the brief nor a further motion for extension of time were filed, prompting this Court to notify the Chumleys’ counsel, Keith C. Thompson, of the defect by letter dated January 11, 2007. &nbsp;Counsel was also directed to file by January 22, 2007, either the brief or a response reasonably explaining the failure to do so with a showing that La Salle Bank, National Association, 
et al.
, have not been significantly injured by the delay. &nbsp;The Court noted that failure to do so would subject the appeal to dismissal. &nbsp;Counsel did not respond and the brief remains outstanding.

Consequently, we dismiss this appeal for want of prosecution and failure to comply with a notice from the Clerk of this Court requiring a response or other action in a specified time. &nbsp;
See 
Tex. R. App. P. 38.8(a)(1), 42.3(b) and (c).





Patrick A. Pirtle

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice




